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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                               )
UNITED STATES OF AMERICA                       )
                                               )
               v.                              )       No. 16-cr-10137-LTS
                                               )
KENNETH BRISSETTE and                          )
TIMOTHY SULLIVAN,                              )
                                               )
               Defendants.                     )
                                               )

                           ORDER UNSEALING DOCKET ENTRIES

                                         February 12, 2020
SOROKIN, J.

       Certain of the parties’ submissions and the Court’s orders in this case have been sealed,

primarily out of a concern that public disclosure while the charges against the defendants were

pending would have risked tainting the jury pool with information not admissible, or not

otherwise intended to be offered, as evidence at trial. After the jury returned its verdict, the

Court provided the parties with a list of such items and sought their input regarding the

appropriateness of unsealing them. Doc. No. 358. Brissette and the government indicated that

they consented to the unsealing of all items on the list. Doc. No. 381, 383. Sullivan expressed

concerns about unsealing certain items, though most of his objections arose from his view that

items related to questions that remained pending before the Court in connection with the Rule 29

and 33 motions and/or the sanctions motion. Doc. No. 380.

       Having considered the parties objections, and having now resolved all other pending

matters, the Court hereby ORDERS as follows:

       1) The Clerk shall UNSEAL all items identified in the Court’s August 7, 2019 Order

           except for Doc. Nos. 258, 263, and 264 (which pertain to an individual not called by
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           the government as a witness in this case), Doc. Nos. 99-5, 297, and 304 (which

           identify as an unindicted co-conspirator a person whom, the Court found at trial, the

           government did not show by a preponderance of evidence was involved in the alleged

           conspiracy), and Doc. No. 325-1 (which contains personal information about an

           individual not called as a witness in this case). 1

       2) The Clerk shall UNSEAL Doc. No. 58, which was not listed in the August 7 Order

           but relates to other documents listed therein.

       3) The Clerk shall UNSEAL the Court’s August 7, 2019 Order about sealed docket

           items and the parties’ responses thereto (Doc. Nos. 358, 380, 381, and 383).

       4) The Clerk shall UNSEAL the following transcripts, cited in the post-trial orders

           docketed concurrently with this one: Doc. Nos. 361, 374, and 375.

       5) If any party objects to the unsealing of the exhibits to Doc. No. 246 (a motion in

           limine by the defendants), they shall notify the Court and state the basis for their

           objection by the close of business February 19, 2020. If no objections are raised, the

           Court will direct the Clerk to UNSEAL the exhibits on February 20, 2020.

       6) Counsel for Timothy Sullivan shall docket a copy of the redlined version of the

           Court’s draft jury charge, submitted in hard copy and discussed at the August 5, 2019

           charging conference, to ensure the electronic docket in this matter is complete.

                                                       SO ORDERED.
                                                        /s/ Leo T. Sorokin
                                                       United States District Judge



1
 For clarity’s sake, the items to be unsealed now per this paragraph are Doc. Nos. 23, 41, 42, 43,
44, 61, 70, 71, 72, 99 (but not attachment 99-5), 147, 201, 202, 211, 246, 256, 257, 259, 260,
261, 262, 278, 279, 280, 281, 282, 283, 284, 286, 287, 289, 292, 301, 302, 303, 305, 307, 308,
310, 313, 314, 315, 321, 322, 325 (but not attachment 325-1), 330, 340, 341, 342, and 343.
                                                  2
